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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 12-61929-CIV-COOKE/TURNOFF

  BETTY HAMILTON,

          Plaintiff,

  vs.

  MARYLAND CASUALTY COMPANY,
  NORTHERN INSURANCE COMPANY OF
  NEW YORK, MID-CONTINENT CASUALTY
  COMPANY, and MT. HAWLEY INSURANCE
  COMPANY,

        Defendants.
  ________________________________________/

        PLAINTIFF’S MOTION FOR LEAVE OF COURT TO AMENDED COMPLAINT
                     AND SUPPORTING MEMORANDUM OF LAW

          Plaintiff, BETTY HAMILTON, by and through her undersigned counsel and pursuant to

  Fed.R.Civ.P. 15(a), hereby files her Motion for Leave of Court to Amend Complaint and

  Supporting Memorandum of Law, and states:

  1.      On September 4, 2012, Plaintiff filed a Complaint against the above-named Defendants.

  2.      Defendant, Mid-Continent Casualty Company, filed its Answer and Affirmative Defenses

  to Plaintiff’s Complaint on October 5, 2012.

  3.      Defendant, Mt. Hawley Insurance Company, filed its Answer and Affirmative Defenses

  to Plaintiff’s Complaint on October 12, 2012.

  4.      Defendants, Maryland Casualty Company and Northern Insurance Company of New

  York, filed their Answer and Affirmative Defenses to Plaintiff’s Complaint on October 15, 2012.

  5.      In their Answers and Affirmative Defenses, each of the Defendants raised various issues

  with regard to whether or not the claims raised in Plaintiff’s initial Complaint were claims for
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  “property damage” which would trigger coverage under the Defendants’ respective policies. As

  more particularly described in her Memorandum of Law, and without conceding that her original

  Complaint was defective, Plaintiff believes that, by amending her original Complaint, she can

  address many of the issues raised in Defendants’ Answers and Affirmative Defenses, and remove

  from the dispute claims for loss which would not be covered losses and claims.

  6.     Pursuant to this Court’s December 26, 2012 Order Setting Civil Trial Date and Pretrial

  Deadlines (D.E. 18), the deadline to amend pleadings is Friday, March 22, 2013.

  7.     The parties have not engaged in any discovery to date. Therefore, none of the Defendants

  would be prejudiced by the granting of this motion.

  8.     Plaintiff’s proposed Amended Complaint is attached hereto as EXHIBIT “A”.

                                   MEMORANDUM OF LAW
         Fed.R.Civ.P. 15(a) provides, in pertinent part, that the amendment of pleadings “shall be

  freely granted where justice so requires.” A plaintiff should be allowed to amend his complaint

  to plead the essential elements of his claim where Defendant has not filed an answer, no

  discovery has been conducted, and where Plaintiff’s complaint has not previously been

  substantially amended. Chisolm v. Tran-South Financial Corp., 95 F.3d 331 (4th Cir. 1996).

         If the Amended Complaint is allowed and filed, many of the issues raised by the

  Defendants in their Answers and Affirmative Defenses with regard to the various items of

  damages claimed by Plaintiff in paragraph 14 of her original Complaint would be resolved. More

  specifically, Defendants contend that all or a portion of the items of damage claimed by Plaintiff

  in her original Complaint are not for “property damage to tangible property” as defined in their

  policies, as those policies are interpreted by applicable Florida law, to wit: United States Fire

  Insurance Company v. J.S.U.B., 979 So.2d 871 (Fla. 2007), and Auto-Owners Insurance

  Company v. Pozzi Window Company, 984 So.2d 1241 (Fla. 2008). Plaintiff submits that the

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  items of damages now listed in paragraph 14 of Amended Complaint, which deletes claims for

  certain items of damage claimed in the underlying Nurmi Drive Construction Litigation and in

  her original Complaint herein, are consistent with, and thus covered by the holdings in the

  J.S.U.B. and Pozzi decisions referenced above. In addition, Plaintiff’s amendment, to the extent

  that it deletes certain items of damage from her claim in this case, would narrow the issues in

  both the discovery phase and trial of this cause.

            WHEREFORE, based on the foregoing, Plaintiff requests that her Motion for Leave to

  Amend Complaint be granted.

                    CERTIFICATION REQUIRED BY S.D. Fla. L.R. 7.1 A 3(a)

            The undersigned communicated with counsel for Defendants on March 21, 2013 and

  March 22, 2013 in an effort to confer as to their position on this Motion For Leave of Court to

  Amend Complaint, and was informed that the Defendants do not object to the relief sought

  herein.

            Respectfully submitted this 22nd day of March, 2013.




                                                       s/C. Edward McGee, Jr.
                                                C. Edward McGee, Jr., Esq.
                                                Florida Bar No. 174885
                                                E-mail: emcgee@mcgeehuskey.com
                                                McGEE & HUSKEY, P.A.
                                                2850 North Andrews Avenue
                                                Fort Lauderdale, Florida 33311
                                                Telephone: (954) 563-8200
                                                Facsimile: (954) 566-7754
                                                Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served via CM/EFC on

  March 22, 2013 on all counsel or parties on the Service List below.


                                              s/ C. Edward McGee, Jr.
                                              C. Edward McGee, Jr., Esq.



   Betty Hamilton v. Maryland Casualty Company, Northern Insurance Company Of New York,
            Mid-Continent Casualty Company And Mt. Hawley Insurance Company
                          Case No. 12-CV-61929- COOKE/TURNOFF
                     United States District Court, Southern District Of Florida

                                         SERVICE LIST

  BRADLEY S. FISCHER                      SORRAYA M. SOLAGES
  Florida Bar No. 716553                  Florida Bar No. 568856
  E-mail: fischer@lbbslaw.com             E-mail: ssolages@lbbslaw.com
  Lewis Brisbois Bisgaard & Smith
  200 SW 1st Avenue - Suite 910
  Fort Lauderdale, FL 33301
  Attorneys for Maryland Casualty Company & Northern Insurance Company of New York

  JOHN R. CATRIZONE                       MORRIS D. PATAKY
  Florida Bar No. 695491                  Florida Bar No. 564311
  E-mail: catizone@litchfieldcavo.com     E-mail: pataky@litchfieldcavo.com
  Litchfield Cavo LLP
  600 Corporate Drive, Suite 600
  Ft. Lauderdale, FL 33334
  Attorneys for Mid-Continent Casualty Company

  SINA BAHADORAN, ESQ.                    TODD DAVIS, ESQ.
  Florida Bar No. 523364                  Florida Bar No. 58470
  E-mail: sbahadoran@hinshawlaw.com       E-mail: tdavis@hinshawlaw.com
  Hinshaw & Culbertson, LLP
  2525 Ponce de Leon Blvd., Suite 400
  Coral Gables, FL 33134-6044
  Attorneys for Mt. Hawley Insurance Company




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